
In re Hardy, Charles, L., Ill; Disciplinary Counsel; — Plaintiffs; Applying for Joint Petition for Transfer to Disability Inactive Status.
ORDER
Considering the Joint Petition for Transfer to Disability Inactive Status filed by respondent and the Office of Disciplinary Counsel,
IT IS ORDERED that respondent, Charles L. Hardy, III, be and he hereby is transferred to disability inactive status pursuant to Supreme Court Rule XIX, § 22(B), until further order of this court.
Pursuant to Supreme Court Rule XIX, § 26(E), this order shall be effective immediately.
/s/ Robert L. Lobrano Justice, Supreme Court of Louisiana
